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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF FLORIDA
TALLAHASSEE DIVISION

NETCHOICE, LLC d/b/a NETCHOICE, : Civil Action No.:
a District of Columbia organization; and }

COMPUTER & COMMUNICATIONS !

INDUSTRY ASSOCIATION d/b/a

CCIA, a Virginia corporation,

Plaintiffs,
Vv.

ASHLEY BROOKE MOODY, in her
official capacity as Attorney General of |
the State of Florida; JONI ALEXIS
POITIER, in her official capacity as
Commissioner of the Florida Elections |
Commission; JASON TODD ALLEN, in!
his official capacity as Commissioner of |
the Florida Elections Commission;
JOHN MARTIN HAYES, in his official
capacity as Commissioner of the Florida ;
Elections Commission; KYMBERLEE |
CURRY SMITH, in her official capacity |
as Commissioner of the Florida
Elections Commission; BARBRA
STERN, in her official capacity as
Commissioner of the Florida Elections |
Commission; and PATRICK
GILLESPIE, in his official capacity as
Deputy Secretary of Business Operations
of the Florida Department of
Management Services.

Defendants.

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DECLARATION OF ETSY, INC
IN SUPPORT OF PLAINTIFFS’ MOTION FOR PRELIMINARY
INJUNCTION

I, Corinne Pavlovic, declare as follows:

1. I am Corinne Pavlovic and serve as Vice President for Trust & Safety
at Etsy, Inc. (“Etsy”). I have worked at Etsy for over ten years, and I have served in
several roles focusing on leading our Trust & Safety programs. As VP for Trust &
Safety, I oversee Etsy’s team that protects the integrity of Etsy’s platform. The team
guards our community from risks, such as fraud, prohibited and unlawful items, and
taking appropriate action when someone fails to comply with our policies and
applicable law.

2. Etsy, Inc. (“Etsy”) operates www.etsy.com and the Etsy app, a global
marketplace where independent sellers of unique and creative goods and buyers
around the world connect. Etsy is an online forum that enables users to buy and sell
a wide variety of “special, extraordinary items, from unique handcrafted pieces to
vintage treasures”! Many goods sold on Etsy are one-of-a-kind items created by
individuals. According to Etsy’s 2019 Global Seller Census that surveyed almost

7,000 Etsy sellers from six core geographies, 80% of Etsy sellers are small

! https://www.etsy.com/about?ref=ftr (“About Etsy”).
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businesses of one and 97% operate out of their homes, and 54% consider themselves
part of the independent workforce.” In addition, per Etsy’s 2020 10-K filed with the
Securities and Exchange Commission, 87% identify as women, 97% operate out of
their homes, and 65% started their Etsy shop as a way to supplement income.’ Etsy
sellers range from those who rely on Etsy as their principal income and those who
use it to engage their creative talents and supplement their income.

3. Our website explains our “mission to keep human connection at the
heart of commerce” by empowering a large community of sellers (many of them
individuals) to “turn their ideas into successful businesses.’* Our platform connects
these small businesses with “millions of buyers looking for an alternative” to mass-
produced items—“something special with a human touch.”> Our sellers include
designers and “makers” who “are literally making their items with their own hands
(or tools).’”®
4. Individuals who seek to sell an item may post it in the Etsy online

marketplace for a flat 20 cent fee.’ Etsy also offers additional optional services, such

as on-site advertising services, which enable Etsy sellers to bid for prominent

2 https://extfiles.etsy.com/advocacy/Etsy_GlobalSellerCensus_4.2019.pdf (“2019 Global
Census.”’)

3 https://investors.etsy.com/financials/sec-filings/default.aspx (“Etsy 2020 10-K”).

4 See About Etsy.

5 Id.

6 https://www.etsy.com/legal/handmade/?ref=list (“Handmade Policy”).

7 https://www.etsy.com/legal/fees/ (“Fees and Payments Policy”)

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placement of their listings alongside search results.®

Br Etsy (1) is an incorporated business entity, (2) doing business in
Florida, (3) that permits users to post or upload content, and (4) it had revenues in
excess of $100 million in 2020 and anticipates revenues in excess of that amount in
2021.

6. Generally, for a seller to list an item on Etsy, it must meet Etsy’s
Handmade Policy, Vintage Policy or be a craft supply.’ In addition, via Etsy’s
Prohibited Items Policy, Etsy prohibits certain types of items from our platform
because they are inconsistent with Etsy’s values and
“the spirit of Etsy,” including items that are high risk, potentially harmful to our
members, or unlawful.!° At Etsy, we have a “zero tolerance policy for prohibited
items, particularly those that promote, support or glorify hatred, those that promote,
support or glorify violence, or are unlawful.” Any sellers deemed by Etsy to have
violated this policy are subject to Etsy’s Terms of Use and Seller Policy, and may
receive a warning, item takedowns, immediate account suspension or termination. !!

fe Etsy’s Prohibited Items Policy provides rules and guidance for sellers,

explaining, for example, the types of items that are not permitted in the following

8 https://www.etsy.com/legal/advertising/ (“Advertising and Marketing Policy”)

9 See Handmade Policy, https://www.etsv.com/legal/policy/vintage-items-on-etsv/242665 563649
(“Vintage Policy”), and https://www.etsy.com/legal/policy/craft-supplies/239327031 264 (“Craft
Supplies Policy.”)

10 https://www.etsy.com/legal/prohibited (“Prohibited Items Policy.”)

\! https://www.etsy.com/legal/terms-of-use (“Terms of Use.”)

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categories:

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. “Violent Items: Items that Promote, Support, or Glorify Violence.

_ “Alcohol, Tobacco, Drugs, Drug Paraphernalia, and Medical Drugs;”
. “Animal Products and Human Remains;”

. “Dangerous Items: Hazardous Materials, Recalled Items, and

Weapons;”

. “Hate Items: Items that Promote, Support, or Glorify Hatred;”

. “Illegal Items, Items Promoting Illegal Activity, and Highly Regulated

Items;”

“Internationally Regulated Items;”

. “Pornography and Mature Content;” and

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Per Etsy’s 2020 Transparency Report, Etsy received more than 4

million flags on content that potentially violated our policies, including the

Prohibited Items Policy.!3 We will not post content such as, for example: (1) items

that promote, support or glorify hatred toward people or otherwise demean people

based upon: race, ethnicity, national origin, religion, gender, gender identity,

disability, or sexual orientation; (2) imitation firearms that look real, or are

prohibited by law; (3) “items that support or commemorate current or historical hate

12 See Prohibited Items Policy.
13 See https://storage.googleapis.com/etsy-extfiles-prod/Etsy_2020_ Transparency Report.pdf

(“2020 Transparency Report.”)
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groups” such as “Nazi or Neo-Nazi groups, Ku Klux Klan (KKK) groups, white
supremacist groups, misogynist groups, or groups that advocate anti-gay, anti-
immigrant, or Holocaust denial agendas”; (4) pornography; and (5) “[i]tems that
glorify human suffering or tragedies, including items that commemorate or honor
serial killers ... exploit natural disasters or human tragedies ... encourage, glorify,
or celebrate acts of violence against individual groups ... encourage self-mutilation,
starvation, or other self-harm.”!4 Some rules are based on applicable laws and
regulations in the US and worldwide. In many cases they are editorial judgments
based on our policies, standards, and values. As our Prohibited Items Policy notes:
Policy decisions are complex. We consider many different and often divergent
factors before coming to a decision about what is best for our community.
Because we are a creative community, we err on the side of freedom of
expression. We also tend to allow items that have educational, historical, or

artistic value, but we know that even those items are subject to a variety of
valid and sometimes conflicting interpretations and emotional responses. '°

9. If enacted, the Act would force Etsy to host content that would violate
these policies, standards, and values, including potentially unlawful content. As a
simple example, if Etsy were required to allow listings that were not within our
generally applicable Handmade, Vintage or Craft Supplies Policies, just because
they were from certain individuals (like a selected subset of politicians and

journalists), it would interfere with the core mission of the platform, let alone Etsy’s

14 See Prohibited Items Policy.
15 Id.
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editorial judgement and ability to moderate its marketplace. More crucially, it would
be anathema to our policies and values if Etsy was forced to allow an individualto
post, for example, an entire storefront of neo-Nazi memorabilia because they fell
into a statutory exception under the Act.

10. The Act would delay, or prohibit outright, Esty from taking a wide
range of moderation actions to further our policies, standards, and values and decline
to open our private platform to prohibited items such as those “that support or
commemorate current or historical hate groups” including “Nazi or Neo-Nazi
groups, Ku Klux Klan. . . groups, [and] white supremacist” and anti-Semitic groups.

11. For example, the Act would flatly prohibit us from “tak[ing] any
action” that involves (among other things) “restrict[ing], edit[ing], alter[ing], [or]
inhibit[ing] the publication of ... any content or material posted by a user” who
meets the definition of a “journalistic enterprise.” Act § 4 (adding F.S. §
501.2041(2)(j)); see also id. (adding F.S. § 501.2041(1)(b) (defining “censor’).
Given the sweepingly broad and vague definition of “journalistic enterprise,”!® this
moderation restriction could require us to open our private service to offer for sale

items from any group that meets the minimum size or audience requirements of the

16 Fl. Stat. § 501.2041(1)(d)) (defining “journalistic enterprise” to include entities doing business
in Florida that “[p]ublishes in excess of 100,000 words available online with at least 50,000 paid
subscribers or 100,000 monthly active users” or “[pJublishes 100 hours of audio or video
available online with at least 100 million viewers annually”).

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law, and even if well outside our platform’s mission, such as even racist and white
supremacist organizations seeking to disseminate Nazi memorabilia; or terrorist
groups seeking to peddle propaganda. Moreover, it is unclear under the Act whether
Etsy could take action against those enterprises if they are, for example, attempting
fraud schemes against our community.

12. Further, the Act could not only compel Etsy to host hateful and highly
offensive content and limit its ability to protect its community from misconduct, but
also give such content and potential misconduct preferential treatment (depending
on the poster), thereby compelling us to effectively advertise this content. This
would run counter to our mission and values, undermine our editorial decision
making and could interfere with our ability to police and protect our community.

13. The Act would also limit our ability to curate and organize items in a
manner that is most helpful to prospective buyers. This could drastically alter the
nature of our service, severely harming our users’ experience. For example, beyond
being forced to include content not relevant to the Etsy community, the Act could
force Etsy to allow sellers to “opt out” of content moderation in a way that deprives
us of our ability to use modern tools (algorithms) to sort and curate content, so users
can quickly and easily find what they’re looking for. Act, § 4 (adding §
501.2041(2)(f)(2)). Under the Act’s mandate, by contrast, a prospective seller could

insist that Etsy “allow sequential or chronological posts and content,”
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id., which makes: little sense for a marketplace of more than ninety million diverse
items. It- would make our service less useable for our community and intetfere-with
Etsy’s mission to keep commerce human, ail for little or no cognizable, benefit. .
The harms to Etsy, its buyers and its sellers could be irreparable.

14. The Actcould also inflict serious harms in other ways. We would be
hamstrung, in our ability to change our standards. and policies regarding
objectionable, offensive, dangerous, or unlawful material more than once every
thirty days. Act, § 4 Ud. (adding § 501.2041(2)(¢)). This would prevent us from
swiftly responding to new trends inthe marketplace, a new law or judicial ruling,
or regulatory requests from Federal and state agencies (such as attempted sales of
counterfeit :goods; responding to bad actors taking advantage of a fast-moving
news story, or sales of contraband).

I declare urider penalty of perjury under the laws of the United States of

America that the foregoing is true and correct. Executed this 3rd day of June, 2021

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i Buy Von
Corinne Pavlovic

VP, Trust & Safety

Etsy, Inc.

